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Ryder et al. V. Wells Fargo Bank                              CLERK Of COURT
Case No. l:19-cv-638 S.D Ohio
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RE: Sharean Dumas                                           SOUTHERN Dl'srOHIO
1994 Elston Street                                          'WEST D!V CINCINNATI
Philadelphia Pa 19138
Shesgotitl01@gmail.com
(215)730-7357

Settlement Counter Offer



This letter is my formal objection to the settlement amount. I believe the amount Is
not consistent with the damages I have encountered over the years. Not only was I
financially impacted, causing me to pay additional penalties, fees due to negligence
of your client, I had incorrect information published to my credit report. Iwish to be
compensated the $1000 per month for each month I had to carry the error on my t
my Equifax, Experian, Transunion, Lexis Nexis and Core logic consumer reports.

I experienced several losses of credit opportunities due to applications that would
not have been denied had your client not be negligent. In some way I believe the
publishing of the information is a form of defamation and violated several Fair Credit
Reporting Acts.

I'm no expert on the exact amount due but it is much more than $1000 you are
offering. This has impacted my life for years. Each year this error was not noticed, I
have had financial limitations due to the blemishes placed on my credit profiles. This
error is not to be taken lightly. I can't get my time back or the financial progress and
credit worthiness I would have been able to achieve if this error was not overlooked
and the negative information was not reported to the credit reporting agencies.

I can only imagine the financial success I would have been able to achieve, had my
credit not had derogatory information published. I would have been able to take
advantage of business and personal loans. Rather than provide an itemized list of all
of my denials and amounts for the years of your error, I wish to be compensated an
additional $75,000. I believe this amount to be fair and an elimination of tedious
paperwork and labor required to itemize everything. The amount is also much lower
than what would be paid if I were to file my request with the Consumer Financial
Protection Bureau.
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Please send your payment via certified mail, to the mailing address above by
December 15^^. Ifyou wish to make a counter settlement, please do so by
December 7^*^. It is my wish to resolve this in a timely manner. Please reach out to
me with any questions you may have.




Sharean Dumas
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